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 6                                  U NITED STATES D ISTRICT COURT
 7                                        DISTRICT OFNEVADA
 8                                                   *+ #

  9 UNITED STATES OF AM ERICA ,                  )
              Pl                                 )
 10            aintiff,                          )
                                                 )
11 vs.                                           )       2:11-cr-434-LDG-PAL
   EUGENISTOYTCHEV                               )                                         .
12                   ,                           )
            D                                    )
13           efendant.                           )               ORDER
14
15             OnNovember27,2012,thecourtgrantedM ichaelP. K imbrell'st4M otion to W ithdraw ''

l6 (#295)andorderednew counselappointed.Therefore, with geod causeappearing;
l7       IT IS HEREBY ORDERED thatW illiam H . Gam age,Esq.isappointed ascounselfor
         EugeniStogchev inplaceofM ichaelP. K imbrell,Esq, fora1Ifutureproceedings.
18
l9        IT IS FU RTHER ORD ERED thatM r. Kimbrellshallfolward thefiletoM r. G am age
20 forthwith.

21             DA TED this 4.6-7,4 .., dayofNovember
                                                    , 2012.
22             N uncPro Tunc Date: N ovem ber 2l,2012.
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24                                                       pEo
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25                                                       United StatesM agistm teJudge

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